Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 1 of 53 - Page ID#: 1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY,
                           CENTRAL DIVISION AT LEXINGTON


                                                     )
 EUDENE HOOD,                                        )     No.
                                                     )
                   Plaintiff,                        )
                                                     )     JURY TRIAL DEMANDED
 v.                                                  )
                                                     )
 JOHNSON & JOHNSON and                               )
 ETHICON, INC.,                                      )
                                                     )
                   Defendants.                       )



                                            COMPLAINT

            COMES NOW Plaintiff, Eudene Hood (“Plaintiff”), by and through her attorneys of

record, and, for her cause of action against Johnson & Johnson and Ethicon, Inc. (collectively

“Defendants”), states and alleges as follows:

                                               PARTIES

            1.    Plaintiff is a citizen of the United States of America and a resident of the State of

Kentucky.

            2.    Defendant Johnson & Johnson (“Johnson & Johnson”) is a New Jersey Corporation

headquartered in New Brunswick, New Jersey.

            3.    Defendant Ethicon, Inc. is a New Jersey corporation headquartered in Summerville,

New Jersey. Ethicon, Inc. is a subsidiary of Johnson & Johnson.

            4.    All acts and omissions of Defendants, as described herein, were done by their

agents, servants, employees, and/or owners acting in the course and scope of their respective

agencies, services, employments, and/or ownership.



555750.12
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 2 of 53 - Page ID#: 2




                                      JURISDICTION AND VENUE

            5.   Jurisdiction is proper in this Court, pursuant to 28 U.S.C. § 1332, because the

amount in controversy exceeds seventy-five thousand dollars ($75,000), exclusive of interest and

costs, and complete diversity of citizenship exists between Plaintiff and Defendants.

            6.   Venue is proper in this Court, pursuant to 28 U.S.C. § 1391, because Plaintiff was

implanted with and subsequently injured by Defendants’ TVT Obturator (“TVT-O”) and Prolene

Mesh (“Prolene”) products (both “Products”) in London, Laurel County, Kentucky.

                                            COMMON FACTS

            A.   Stress Urinary Incontinence and Pelvic Organ Prolapse

            7.   At all relevant times, Defendants were in the business of designing, manufacturing,

promoting and selling their polypropylene pelvic mesh products, including the Products at issue

herein, as devices intended to treat stress urinary incontinence and /or pelvic organ prolapse.

            8.   Stress urinary incontinence (“SUI”) is the involuntary loss of urine during

movement that puts pressure on the bladder, such as laughing, coughing, sneezing, or aerobic or

strenuous exercise. Although incontinence is suffered by both men and women, it is more common

in women and can be caused by menopause or by physical changes that occur in the body during

pregnancy or childbirth.

            9.   Childbirth, for example, can injure the pelvic floor muscles and ligaments that help

support a woman’s bladder. If these structures weaken, the bladder can move downward, pushing

slightly out of the bottom of the pelvis toward the vagina. The movement of the bladder, or other

pelvic organs, such as the urethra, cervix or rectum, is known as pelvic organ prolapse (“POP”).

A prolapsed bladder can prevent the muscles that ordinarily force the urethra shut from squeezing

as tightly as they should, resulting in an involuntary loss of urine.




555750.12                                         2
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 3 of 53 - Page ID#: 3




            10.   Both SUI and POP are, in many cases, treatable. A woman who elects to have SUI

or POP surgically treated has several options. SUI, for example, can be corrected through

abdominal surgery using sutures to attach the urethra to a ligament in the pelvis (known as the

“Burch procedure”). SUI also can be surgically addressed using synthetic materials such as

suprapubic mid-urethral “slings” placed under the urethra to provide support. Similarly, POP can

be corrected through traditional procedures via abdominal or transvaginal surgery. POP also can

be surgically addressed using biologic, composite, or synthetic materials.

            11.   Surgical mesh products have been used to repair abdominal hernias since the 1950s.

            12.   In the 1990s, manufacturers (such as Defendants) began to modify the mesh used

in hernia repair to be used as “pelvic mesh products” specifically intended to correct SUI and POP.

Defendants’ pelvic mesh products were derived from Defendants’ polypropylene hernia mesh

products, and were and are utilized in the treatment of medical conditions in the female pelvic

area, primarily pelvic organ prolapse and stress urinary incontinence.

            13.   In the late 1990s, Defendants determined a safer mesh was available for use and

subsequently changed the mesh used in their hernia applications. Defendants did not make a

similar revision to the mesh used in the Products implanted in Plaintiff.

            14.   Defendants manufacture, label, package, distribute, market, supply, and sell pelvic

mesh products, as well as pelvic mesh “kits,” which can include the surgical mesh and also tissue

fixation anchors and insertion tools.

            15.   At the time of implant in to Plaintiff, the pelvic mesh products manufactured by

Defendants were considered Class II medical devices.

            16.   Unlike Class III medical devices, such as an artificial heart or an Automated

External Defibrillator, Class II devices do not require “approval” by the Food and Drug




555750.12                                         3
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 4 of 53 - Page ID#: 4




Administration (“FDA”). Whereas Class III devices cannot be sold until the manufacturer

demonstrates to the FDA, through adequate and well-controlled clinical trials, that the proposed

device is safe and effective, there is no such requirement for Class II devices.

            17.   Under the FDA’s “Substantial Equivalence” process under Section 510(k) of the

Food, Drug and Cosmetic Act, a manufacturer must provide a premarket notification that allows

the FDA to determine whether a medical device is substantially equivalent to a “predicate device.”

A predicate device is one that the FDA has placed into one of three categories and “cleared” for

marketing.

            18.   The “premarket notification” process -- for Class II devices -- is not focused on

whether the device is safe and effective, but rather is concerned with whether the proposed device

is substantially equivalent to an existing predicate device that was already cleared for marketing

by the FDA.

            19.   At all times material to this action, Defendants designed, tested, patented,

manufactured, packaged, labeled, marketed, sold, and distributed a line of pelvic mesh products

intended to treat POP and SUI, including Products implanted into Plaintiff. Each of these products

was cleared for sale in the United States after the Defendants made assertions to the FDA of

“Substantial Equivalence” under Section 510(k). This clearance process does not require the

applicant to prove safety or efficacy.

            20.   One of the pelvic mesh products that Defendants designed, tested, patented,

manufactured, packaged, labeled, promoted, marketed, sold, and distributed was the TVT-O,

which was intended to treat SUI.

            21.   The Gynecare TVT-O is a polypropylene mesh product made and marketed by

Defendants to treat stress urinary incontinence (“SUI”). The product consists of PROLENE®




555750.12                                         4
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 5 of 53 - Page ID#: 5




polypropylene mesh with a with a polyethylene sheath or covering and attached trocars / surgical

device, a TVT introducer, a TVT Rigid Catheter Guide and Instructions for Use (“IFU”).

            22.   From the time it was introduced to the market through January 2015, the IFU for

the TVT-O did not change.

            23.   Defendants were aware, or should have been aware, of the dangers inherent in the

TVT-O, notwithstanding the fact that the TVT-O was “cleared” for sale by the FDA.

            24.   Another of the pelvic mesh products that Defendants designed, tested, patented,

manufactured, packaged, labeled, promoted, marketed, sold, and distributed was the Prolene Mesh,

which was intended to treat POP or SUI. Like the TVT-O, Defendants; Prolene Mesh is made

from polypropylene.

            25.   Defendants were aware, or should have been aware, of the dangers inherent in the

Prolene Mesh, notwithstanding the fact that the Prolene Mesh was “cleared” for sale by the FDA.

            26.   Defendants’ pelvic mesh products, including the Products specifically used for

Plaintiff, have been and continue to be marketed to the medical community and to patients as safe,

effective, reliable medical devices implanted by safe and effective, minimally invasive surgical

techniques for the treatment of medical conditions, primarily pelvic organ prolapse and stress

urinary incontinence. Defendants market the pelvic mesh products, including the Products

specifically used for Plaintiff, as safer and more effective when compared to 1) the traditional

products and procedures for treatment of pelvic organ prolapse and stress urinary incontinence and

2) other competing pelvic mesh and sling products.

            27.   Defendants made public statements in the form of written product descriptions,

product labels, promotional materials, marketing materials and other materials that asserted that

implanting the Products was safe and would not cause harm to patients, like Plaintiff. Defendants




555750.12                                         5
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 6 of 53 - Page ID#: 6




have also marketed and sold the Products to the medical community at large and patients through

carefully planned, multifaceted marketing campaigns and strategies. These campaigns and

strategies include, but are not limited to direct to consumer advertising, aggressive marketing to

health care providers at medical conferences, hospitals, private offices and include the provision

of valuable consideration and benefits to health care providers. Also utilized are documents,

brochures, websites, telephone information lines, and training offering exaggerated and misleading

expectations as to the safety and utility of Defendants’ Products.

            28.      Contrary to Defendants’ representations and marketing to the medical community

and to the patients themselves, Defendants’ Products have high failure, injury, and complication

rates, fail to perform as intended, require frequent and often debilitating re-operations, and have

caused severe and irreversible injuries, conditions, and damage to the Plaintiff. These defects

include, but are not limited to:

                  a. The mesh material used in the Products is not inert and therefore reacts (i.e.
                     foreign body response) to human tissues and/or other naturally occurring human
                     bodily contents adversely affecting patient health;

                  b. The mesh material used in the Products is not pure as it contains additional
                     compounds which are leached from the mesh and are toxic to tissue which
                     enhances the body’s inflammatory reaction (foreign body response);

                  c. The mesh material used in the Products harbors infections as a result of the weave
                     of the mesh that adversely affect human tissues and patient heath;

                  d. The Products migrate from the location of their implantation, adversely affecting
                     tissues and patient health;

                  e. The Products regularly fail to perform the purpose of their implantation such that
                     the patient requires removal of the device and repeated treatment and surgery;

                  f. Due to their various defects, the Products regularly cause significant and
                     permanent injury to patients such that the Products must be removed, resulting in
                     additional surgery;




555750.12                                              6
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 7 of 53 - Page ID#: 7




                  g. The Products become embedded in human tissue over time such that if it needs to
                     be removed due to its various defects, the removal causes damage to the organs
                     and tissues, adversely affecting patient health;

                  h. The Products are defective in shape, composition, weight, physical, chemical and
                     mechanical properties and is inappropriately engineered for use in the female
                     pelvis; and

                  i. The Products erode into other pelvic organs, tissue, muscle, nerves, and bone
                     adversely affecting tissues and patient health.

            29.      Because of their numerous defects, the Products create an unreasonable risk of

injury and other adverse health consequences for patients, including, but not necessarily limited

to, mesh erosion, extrusion/protrusion, chronic pain, mesh contraction, foreign body response,

infection, abscesses, fistula, inflammation, scar tissue, organ perforation, dyspareunia, bleeding,

neuropathic, and other acute and chronic nerve damage and pain, pudendal nerve damage, vaginal

scarring, vaginal shrinkage, pelvic floor damage, pelvic pain, urinary and fecal problems, prolapse

of organs, and in many cases forcing the need for intensive medical treatment, including but not

limited to operations to locate and remove mesh, operations to attempt to repair pelvic organs,

tissue and nerve damage, the use of pain control and other medications, injections into various

areas of the pelvis, spine, and the vagina, and operations to remove portions of the female genitalia,

and injuries to the woman’s intimate partner.

            30.      Defendants have consistently underreported and withheld information about the

propensity of the Products to fail and cause injury and complications, and have misrepresented the

efficacy and safety of the Products, through various means and media, actively and intentionally

misleading the FDA, the medical community, patients and the public at large.

            31.      Defendants have known and continue to know that its Products were and are

causing numerous patients, including Plaintiff, severe injuries and complications. Defendants

suppressed this information, and failed to accurately and completely disseminate or share this and


555750.12                                             7
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 8 of 53 - Page ID#: 8




other critical information with the FDA, health care providers, or the patients. As a result,

Defendants actively and intentionally misled and continue to mislead the public, including the

medical community, health care providers and patients, into believing that the Products were and

are safe, effective, and would not cause harm to patients. These statements were made with the

intent that medical professionals and members of the public would rely upon them, with the intent

that members of the public would pay for the Products and that the Products would be implanted

in patients. When Defendants made these statements, they knew or should have known that the

statements were inaccurate.

            32.   Defendants have at all times provided incomplete, insufficient, and misleading

training and information to physicians, in order to increase the number of physicians utilizing the

Products, and thus increase the sales of the Products, and also leading to the dissemination of

inadequate and misleading information to patients, including Plaintiff.

            33.   On October 21, 2008, the FDA issued a Public Health Notification that described

over 1,000 complaints that had been reported over a three-year period related to pelvic mesh

products.

            34.   Defendants were aware of numerous defects in the Products as a result of several

published, peer reviewed, scientific studies, including, but not limited to, the defects and

unreasonable risks identified above. Defendants also knew or should have known that the Products

caused an unreasonably high rate of complications, such as mesh erosion, extrusion/protrusion,

chronic pain, mesh contraction, infection, foreign body response, abscesses, fistula, inflammation,

scar tissue, organ perforation, dyspareunia, bleeding, neuropathic, and other acute and chronic

nerve damage and pain, pudendal nerve damage, vaginal scarring, vaginal shrinkage, pelvic floor

damage, pelvic pain, urinary and fecal problems, and prolapse of organs in women implanted with




555750.12                                         8
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 9 of 53 - Page ID#: 9




the Products. Despite being aware of the numerous defects and unreasonable risks in its Products,

Defendants developed, designed, manufactured, labeled, packaged, distributed, marketed,

supplied, advertised, sold and otherwise engaged in all activities that are part and parcel of the sale

and distribution of the Products with the intent that it would be implanted in patients, like Plaintiff.

Defendants were aware that implanting the Products in patients was likely to cause injury and harm

to the patients into whom the Products were implanted, including Plaintiff. Alternatively,

Defendants failed to exercise reasonable care in determining the risks and potential adverse

consequences of implanting the Products into patients, like Plaintiff.

            35.   Despite Defendants’ knowledge of the catastrophic injuries, conditions, and

complications caused by their pelvic mesh products, Defendants have, and continue to

manufacture, market and sell the pelvic mesh products, while continuing to fail to adequately warn,

label, instruct, and disseminate accurate information with regard to their pelvic mesh products,

both prior to and after the marketing and sale of the Products.

            36.   Defendants failed to perform or rely on proper and adequate testing and research in

order to determine the safety and effectiveness of the Products.

            37.   Defendants failed to perform or rely on proper and adequate testing and research in

order to determine and evaluate the risks and benefits of the Products.

            38.   Defendants failed to design and establish a safe, effective procedure for removal of

the Products; therefore, in the event of a failure, injury, or complication it is impossible to easily

and safely remove the Products.

            39.   Feasible and suitable alternative designs as well as suitable alternative procedures

and instruments for implantation and treatment of stress urinary incontinence, pelvic organ




555750.12                                          9
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 10 of 53 - Page ID#: 10




 prolapse, and similar other conditions have existed at all times relevant as compared to the

 Defendants’ Products.

             40.   Defendants have failed to provide adequate warning or information about the risks

 that the Products cause an unreasonably high rate of complications, including mesh erosion,

 extrusion/protrusion, chronic pain, mesh contraction, infection, foreign body response, abscesses,

 fistula, inflammation, scar tissue, organ perforation, dyspareunia, bleeding, neuropathic, and other

 acute and chronic nerve damage and pain, pudendal nerve damage, vaginal scarring, vaginal

 shrinkage, pelvic floor damage, pelvic pain, urinary and fecal problems, and prolapse of organs to

 physicians who implanted the Products, or to women implanted with the Products, like Plaintiff.

             41.   Due to defects in design, manufacture and warnings, the TVT-O and Prolene Mesh

 implanted into the Plaintiff were unreasonably dangerous at the time that they left Defendants’

 control.

             B.    Plaintiff’s Medical History and Experience

             42.   On December 22, 2005, Plaintiff’s doctor implanted TVT-O mesh to treat

 Plaintiff’s SUI. This procedure took place at Marymount Medical Center in London, Kentucky.

 The Product used (i.e., a polypropylene TVT-O mesh kit) was designed, manufactured, packaged,

 labeled, marketed, and sold by Defendants.

             43.   Ms. Hood’s doctor implanted this Product in Plaintiff with the intention of treating

 her SUI, a use for which Defendants marketed and sold this Product.

             44.   Plaintiff’s surgery was performed without intraoperative complications.

             45.   At all times, the TVT-O that was implanted in Plaintiff was being used for the

 purpose that Defendants marketed and sold the product.




 555750.12                                          10
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 11 of 53 - Page ID#: 11




             46.   The TVT-O implanted into the Plaintiff was in the same or substantially similar

 condition as they were when they left the possession of Ethicon, and in the condition directed by

 Defendants.

             47.   Defendants’ TVT-O was at all times utilized and implanted in a manner foreseeable

 to Defendants.

             48.   Despite Defendants’ representations regarding its Products, Plaintiff’s implanted

 TVT-O did not resolve her stress urinary incontinence. In addition, Plaintiff began to experience

 pain with intercourse, recurring vaginal pain, and blood in her urine after implant of the TVT-O.

             49.   On July 7, 2011, Plaintiff’s doctor implanted Prolene Mesh in an effort to treat

 Plaintiff. Dr. Jennifer Fuson performed this surgery at Central Baptist Hospital in Lexington,

 Kentucky and the Prolene Mesh was designed, manufactured, packaged, labeled, and sold by

 Defendants.

             50.   Plaintiff’s surgery was performed without intraoperative complications.

             51.   At all times, the Prolene Mesh that was implanted in Plaintiff was being used for

 the purpose that Defendants marketed and sold the product.

             52.   The Prolene Mesh implanted into the Plaintiff was in the same or substantially

 similar condition as it was when it left the possession of Defendants, and in the condition directed

 by Defendants.

             53.   Defendants’ Prolene Mesh was at all times utilized and implanted in a manner

 foreseeable to Defendants.

             54.   As a result of the defective mesh Products implanted in Plaintiff, Plaintiff

 subsequently suffered serious bodily injuries, including extreme pain, mesh erosion, and other

 injuries similar to the ones described in the FDA’s Public Health Advisory of October 21, 2008.




 555750.12                                         11
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 12 of 53 - Page ID#: 12




             55.   As a direct and proximate result of Defendants’ conduct and omissions, Plaintiff

 has suffered, and continues to suffer, multiple severe and painful personal injuries, including, but

 not limited to, pain, mesh erosion and exposed mesh; has undergone and likely will undergo

 additional corrective surgery or surgeries, including but not limited to removal of the Defendants’

 Products on November 8, 2017 at St. Joseph Hospital in Lexington, Kentucky. Plaintiff has

 suffered financial or economic loss, including, but not limited to, obligations for medical services

 and expenses and likely will continue to incur such expenses in the future.

             56.   Plaintiff’s injuries would not have occurred but for the defective nature of the

 Products implanted and/or Defendants’ wrongful conduct.

             57.   The acts, conduct, and omissions of Defendants, and each of them, as alleged

 throughout this Complaint were fraudulent, willful and malicious and were done with a conscious

 disregard for the rights of Plaintiff and other users of the Products and for the primary purpose of

 increasing Defendants’ profits from the sale and distribution of the Products.

             58.   Plaintiff, in the exercise of due diligence, could not reasonably have discovered the

 cause of her injuries, including, but not limited to, the defective design of the Products implanted

 inside of her, until such time that her doctors advised her that there was a problem with the mesh,

 which occurred no earlier than 2014 and shortly before Plaintiff commenced her legal action

 against Defendants.

             59.   Plaintiff commenced her legal action against Defendants on November 25, 2014

 via short-form, direct filing protocol in MDL No. 2327. Plaintiff’s claim was part of the

 consolidated Multidistrict Litigation in the Southern District of West Virginia, MDL No. 2327.

 Plaintiff’s case was subsequently part of a “Wave Order” in which limited case specific discovery




 555750.12                                          12
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 13 of 53 - Page ID#: 13




 occurred prior to voluntary dismissal without prejudice and implementation of a private tolling

 agreement, which expires on December 31, 2020.

                                      COUNT I: NEGLIGENCE

             60.   At all times material hereto, Defendants had a duty to Plaintiff and to other

 foreseeable users of the Products, to exercise reasonable care in the design, manufacture, testing,

 inspection, processing, advertising, marketing, labeling, assembling, packaging, distribution,

 detailing, promotion and sale of the Products.

             61.   Defendants had a further duty to provide adequate and sufficient instructions

 concerning the proper use of the Products, as well as warnings of the risks and dangers associated

 with using the Products, to Plaintiff and to other foreseeable users of the Products.

             62.   Defendants had a duty to exercise reasonable care in the advertising and sale of the

 Products, including a duty to warn and instruct Plaintiff and her of the dangers associated with the

 use of the Products that were known or should have been known to the Defendants at the time of

 the sale of the Products to Plaintiff.

             63.   Defendants provided information to physicians at medical association conferences

 and hosted events to provide information regarding the polypropylene devices, including the

 Products at issue. Further, Defendants took steps to “instruct” or train physicians on implantation

 techniques through the Instructions for Use and in person trainings. Defendants also sought out

 doctors to increase sales and the number of procedures performed.

             64.   Defendants had a duty to exercise reasonable and ordinary care in the recruitment

 and training of physicians to implant the Product.

             65.   Defendants breached their duties to Plaintiff when they failed to exercise reasonable

 care in the design, manufacture, testing, inspection, processing, advertising, marketing, labeling,




 555750.12                                          13
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 14 of 53 - Page ID#: 14




 assembling, packaging, distribution, detailing, promotion, training, and sale of their Products so as

 to avoid unreasonable risk of harm to women in whom the Products were implanted, including

 Plaintiff.

             66.    Defendants failed to perform or rely on proper and adequate testing and research in

 order to determine and evaluate the risks and benefits of the Products.

             67.    The Products implanted in Plaintiff was unreasonably dangerous and defective for

 reasons that include, but are not limited to, the following:

             a) The use of polypropylene material in the Products and the immune reaction that results
                from such material, causing adverse reactions and injuries;

             b) The design of the Products to be inserted into and through an area of the body with
                high levels of bacteria that adhere to the mesh during the insertion process causing
                immune reactions and subsequent tissue breakdown and adverse reactions and
                injuries;

             c) Biomechanical issues with the design of the Products, including, but not limited to,
                the propensity of the Products to contract or shrink (up to 50%) inside the body that
                in turn causes surrounding tissue to be inflamed, become fibrotic, and contract,
                resulting in injury;

             d) The propensity of the Products to “creep” or to gradually elongate and deform when
                subject to prolonged tension inside the body;

             e) The inelasticity of the Products, causing it to be improperly mated to the delicate and
                sensitive areas of the pelvis where it is implanted, and causing pain upon normal daily
                activities that involve movement in the pelvis (e.g., intercourse, defecation);

             f) The propensity of the Products for degradation or fragmentation over time, which
                causes a chronic inflammatory and fibrotic reaction and results in continuing injury
                over time;

             g) The creation of a non-anatomic condition in the pelvis leading to chronic pain and
                functional disabilities when the Products are implanted according to the
                manufacturer’s instructions;

             h) The Products degrade over time, causes chronic foreign body reactions, fibrotic
                bridging, mesh contracture / shrinkage, fraying, deformation, roping, rolling and
                curling of the mesh;




 555750.12                                           14
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 15 of 53 - Page ID#: 15




             i) Adequate studies to establish safety and effectiveness for permanent human
                implantation of the Products to treat SUI are lacking;
             j) The Directions For Use that Defendants provided with all mesh products do not fully
                disclose or adequately warn about the Products’ known or knowable risks, adverse
                reactions, and characteristics;

             k) The use of polypropylene material in the Products and the failure to provide adequate
                Directions for Use and training;

             l) Defendants failed to design and establish a safe, effective procedure for removal of
                their Products; therefore, in the event of a failure, injury, or complication, it is
                impossible to easily and safely remove the Products;

             m) Defendants used non-medical grade material to make their Products; and

             n) The pore size and stiffness of the Products were unsafe and resulted in unnecessary
                complications to women and created an unacceptable risk of chronic pain and the
                mesh ripping through vaginal tissue.

             68.    Defendants also breached their duty to adequately and sufficiently warn Plaintiff

 and her healthcare providers and other foreseeable users of the Products’ propensity to erode, the

 rate and manner of mesh erosion, the risk of chronic infections resulting from implantation of the

 Products, the differences of severity of foreign body response between synthetic and biologic

 mesh, the risk of vaginal scarring as a result of implantation of the Products, the risk of recurrent

 severe pelvic pain and chronic pain resulting from the implantation of the Products, the need for

 corrective or revisionary surgery to adjust or repair the Products, or the overall severity of

 complications that could arise as a result of implantation of the Products.

             69.    Defendants’ Products incorporate a monofilament polypropylene mesh unintended

 for the treatment of POP and/or SUI. Despite claims that this material is inert, the emerging

 scientific evidence suggests that this material is biologically incompatible with human tissue and

 promotes an immune response in a large subset of the population receiving Defendants’ products

 containing this material, including the Products implanted into Plaintiff. This immune response

 promotes degradation of the pelvic tissue and can contribute to the formation of severe adverse


 555750.12                                          15
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 16 of 53 - Page ID#: 16




 reactions to the mesh. Moreover, the mesh migrates within the surrounding tissues causing

 irreparable damage to the tissue including nerve endings residing within the tissues. Damaged

 nerve endings do not regenerate and lead to debilitating neuromas suffered by patients such as

 Plaintiff.

             70.   Defendants made claims and representations in documents submitted to the FDA,

 in reports to the public and to healthcare professionals, and in advertisements that the Products did

 not present serious health risks.

             71.   These and other representations made by Defendants were false when made and/or

 were made with the pretense of actual knowledge, when such knowledge did not actually exist,

 and were made recklessly and without regard to the true facts.

             72.   These and other representations made by Defendants were made with the intention

 of deceiving Plaintiff, Plaintiff’s healthcare professionals, and other members of the healthcare

 community and were made in order to induce Plaintiff and her healthcare professionals to rely on

 misrepresentations and caused Plaintiff to purchase, rely, use, and request the Products and her

 healthcare professionals to dispense, recommend, or prescribe the Products.

             73.   Defendants’ Products have been and continue to be marketed to the medical

 community and to patients as safe, effective, reliable, medical devices implanted by safe and

 effective minimally invasive surgical techniques for the treatment of medical conditions, primarily

 POP or SUI, and as safer and more effective as compared to the traditional product and procedures

 for treatment and other competing pelvic mesh products.

             74.   The Defendants have marketed and sold the Products to the medical community at

 large and patients through carefully planned, multifaceted marketing campaigns and strategies.

 These campaigns and strategies include, but are not limited to, aggressive marketing to health care




 555750.12                                        16
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 17 of 53 - Page ID#: 17




 providers at medical conferences, hospitals, and private offices and include the provision of

 valuable cash and non-cash benefits to health care providers. Also utilized are documents,

 brochures, and websites offering exaggerated and misleading expectations as to the safety and

 utility of the Products.

             75.   Contrary to the Defendants’ representations and marketing to the medical

 community and to the patients themselves, the Defendants’ Products have high failure, injury, and

 complication rates, fail to perform as intended, require frequent and often debilitating re-

 operations, and have caused severe and irreversible injuries, conditions, and damage to a

 significant number of women, including Plaintiff, making them defective under the law. The

 Defendants consistently have underreported and withheld information about the propensity of the

 Products to fail and cause injury and complications, have misrepresented the efficacy and safety

 of the Products, and, through various means and media, have actively and intentionally been

 misleading the FDA, the medical community, patients, and the public at large.

             76.   Defendants knew and had reason to know that the Products could and would cause

 severe and grievous personal injury to users and that they were inherently dangerous in a manner

 that exceeded any purported, inaccurate, or otherwise downplayed warnings.

             77.   Defendants knew or had reason to know that Plaintiff and her physicians and other

 healthcare providers had no way to determine the truth behind Defendants’ concealment and

 omissions and that these included material omissions of facts surrounding the use of the Products,

 as described in detail above.

             78.   In reliance upon these false representations, Plaintiff was induced to and did use

 the Products, thereby sustaining severe and permanent personal injuries and damages.




 555750.12                                         17
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 18 of 53 - Page ID#: 18




             79.    Had Plaintiff or her treating physician known of the unreasonably dangerous risks

 associated with the Products at the time of her implant surgery, Plaintiff’s physicians would have

 taken this information into consideration with respect to their recommendation and/or use of the

 Products, and Plaintiff would not have consented to the implantation of the Products had she

 known the true risks of the Product and chronic nature of injuries.

             80.    As a direct and proximate result of Defendants’ breaches of duty, as described

 above, Plaintiff has suffered and continues to suffer from serious and permanent physical and

 mental injuries. Additionally, Plaintiff has incurred significant expenses for medical care and

 treatment and will continue to incur such expenses in the future.

             81.    As a direct, proximate, and foreseeable result of Defendants’ negligence, Plaintiff

 has been damaged in an amount to be determined at trial.

                        COUNT II: STRICT LIABILITY – DESIGN DEFECT

             82.    All paragraphs of this Complaint are hereby incorporated by reference as fully set

 forth herein.

             83.    The Products implanted in Plaintiff were not reasonably safe for their intended use

 and were defective as described herein with respect to their design. The Products’ design defects

 include, but are not limited to:

             a) The use of polypropylene mesh material in the Products and the immune reaction that
                results from such material, causing adverse reactions and injuries;

         b) The mesh material used in the Products is not pure as it contains additional compounds
            which are leached from the mesh and are toxic to tissue which enhances the body’s
            inflammatory reaction (foreign body response);

             c) The design of the Products to be inserted into and through an area of the body with high
                levels of bacteria that adhere to the mesh causing immune reactions and subsequent
                tissue breakdown and adverse reactions and injuries;




 555750.12                                           18
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 19 of 53 - Page ID#: 19




             d) The mesh material used in the Products harbors infections as a result of the weave of
                the mesh that adversely affect human tissues and patient heath;

             e) Biomechanical issues with the design of the Products, including, but not limited to, the
                propensity of the mesh used in the Products to contract or shrink inside the body, that
                in turn causes surrounding tissue to be inflamed, become fibrotic, and contract,
                resulting in injury;

             f) The use and design of arms and anchors in the Products, which, when placed in women,
                are likely to pass through contaminated spaces and injure major nerve routes in the
                pelvic region;

             g) The propensity of the Products to “creep” or to gradually elongate and deform when
                subject to prolonged tension inside the body;

             h) The inelasticity of the Products, causing them to be improperly mated to the delicate
                and sensitive areas of the pelvis where they are implanted, and causing pain upon
                normal daily activities that involve movement in the pelvis (e.g., intercourse,
                defecation);

             i) The propensity of the Products for degradation or fragmentation over time, which
                causes a chronic inflammatory, foreign body reaction, and fibrotic reaction and results
                in continuing injury over time;

             j) The creation of a non-anatomic condition in the pelvis leading to chronic pain and
                functional disabilities when the Products are implanted according to the manufacturer’s
                instructions;

             k) The failure to provide adequate Directions for Use and training regarding the Products;

             l) Defendants used non-medical grade material and counterfeit material illegally
                smuggled in from China to make their medical devices, including Plaintiff’s Products;

             m) The pore size and stiffness of the mesh used in the Products were unsafe and resulted
                in unnecessary complications to women and created an unacceptable risk of chronic
                pain and the mesh ripping through vaginal tissue.

             84.    In the late 1990s, Defendants determined a safer mesh was available for use and

 subsequently changed the mesh used in their hernia applications. Defendants did not make a

 similar revision to the mesh used in the Products implanted in Plaintiff.

             85.    As a result of the design defect set forth herein, Defendants’ Products were

 “defective”, unfit, unsafe, inherently dangerous and “unreasonably dangerous” for their intended



 555750.12                                           19
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 20 of 53 - Page ID#: 20




 and reasonably foreseeable uses. The Products do not meet or perform to the expectations of

 patients and their health care providers. Defendants’ Products were dangerous to an extent beyond

 that which would be contemplated by the ordinary consumer.

             86.   As a result of the design defects set forth herein, the risk of harm in the Products’

 design outweigh the utility of the design.

             87.   Feasible, suitable, and safer alternative designs, as well as feasible, suitable, and

 safer alternative procedures and instruments for implantation, have existed at all times relevant as

 compared to the Products. These feasible, suitable, and safer designs and procedures would have

 prevented or minimized Plaintiff’s injuries.

             88.   The Products are no more effective than treatments using biologic sling materials

 and Burch colposuspension. Further, allograft sling treatment, for example, provides a more

 favorable outcome with a lower rate of complications than Defendants’ Products.

             89.   Using biologic sling materials, sutures (including polypropylene sutures), or

 polyvinylidene fluoride (PVDF) mesh does not present with the same chronic complications

 associated with the mesh material of Defendants’ Products. All of these alternative materials, were

 available when Defendants’ Products were first commercialized.

             90.   Defendants’ Products create risk to the health and safety of the patients that are far

 more significant and devastating than the risks posed by other products and procedures available

 to treat the corresponding medical conditions.

             91.   The Products used by Plaintiff’s physician were not substantially changed,

 modified, or altered at any time or in any manner whatsoever prior to use. The Products implanted

 into Plaintiff were as in the same or substantially similar condition as they were when they left the

 possession of the Defendants and were received by Plaintiff. The Products when implanted into




 555750.12                                          20
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 21 of 53 - Page ID#: 21




 Plaintiff were as in the same or substantially similar condition directed by and expected by the

 Defendants.

             92.   At no time did Plaintiff, or her physicians, have reason to believe that the Products

 were in a condition not suitable for its proper and intended use.

             93.   Plaintiff was not able to discover, nor could she have discovered through the

 exercise of reasonable diligence, the design defect of the Products.

             94.   Plaintiff and her physicians foreseeably used and implanted the Products and did

 not misuse or alter the Products in an unforeseeable manner.

             95.   The medical and scientific literature studying the effects of polypropylene pelvic

 mesh, like found in Defendants’ Products, have examined each of these injuries, conditions, and

 complications, such as those suffered by the Plaintiff, and determined that they are, in fact, causally

 related to the mesh itself and do not often implicate errors related to the implantation of the devices.

             96.   Defendants violated the common law in addition to the Kentucky Products Liability

 Act, Ky. Rev. Stat. Ann. 411.300 et seq and the Kentucky Consumer Protection Law, Ky. Rev.

 Stat. Ann. 367.170 et seq.

             97.   Defendants intentionally and recklessly designed the Products with wanton and

 willful disregard for the rights and health of the Plaintiffs and others, and with malice, placing their

 economic interest above the health and safety of the Plaintiff and others.

             98.   As a direct and proximate result of the Products’ aforementioned defects as

 described herein, Plaintiff has suffered serious and permanent mental and physical injuries and

 pain and suffering. Plaintiff has undergone medical treatment and will likely undergo future

 medical treatment and procedures, and has suffered financial or economic loss, including, but not




 555750.12                                          21
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 22 of 53 - Page ID#: 22




 limited to, obligations for medical services and expenses, lost income, out of pocket expenses and

 other damages.

             99.     Defendants are strictly liable to Plaintiff for designing, marketing, labeling,

 packaging, and selling the defective Products.

                    COUNT III: STRICT LIABILITY – MANUFACTURING DEFECT

             100.   All paragraphs of this Complaint are hereby incorporated by reference as fully set

 forth herein.

             101.   The Products implanted in Plaintiff were not reasonably safe for their intended and

 foreseeable uses and were defective as described herein as a matter of law with respect to their

 manufacture, in that they deviated materially from Defendants’ design and manufacturing

 specifications in such a manner as to pose unreasonable risks of serious bodily harm to Plaintiff.

             102.   At all relevant times, Defendants were the manufacturers of the Products.

             103.   Defendants designed, manufactured, prepared, assembled, marketed, labeled,

 distributed and sold the Products.

             104.   The Defendants designed the Products as permanent implants for long term use

 within the human body.

             105.   However, due to the manufacturing defects of the mesh system found within the

 Products, the Products were “defective”, unfit, unsafe, inherently dangerous and unreasonably

 dangers for their intended long term use.           The defects caused by improper or incorrect

 manufacturing rendered the Products unreasonably dangerous, deficient, and defective to

 consumers and to Plaintiff.

             106.   The manufacturing of the Products was defective due to, among other things, the

 use of non-medical grade material, smuggling in counterfeit material from China to manufacture




 555750.12                                          22
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 23 of 53 - Page ID#: 23




 the Products, and inadequate specifications that were not adhered to in the manufacturing of

 Plaintiff’s Products.

             107.   The Products are not compatible with human tissue and promote an immune

 response in a large subset of the population.

             108.   Defendants’ Products create risk to the health and safety of the patients that are far

 more significant and devastating than the risks posed by other products and procedures available

 to treat the corresponding medical conditions, and which far outweigh the utility of the Products.

             109.   The Defendants’ Products have high failure, injury, and complication rates, fails to

 perform as intended, requires frequent and often debilitating re-operations, and have caused severe

 and irreversible injuries, conditions, and damage to a significant number of women, including

 Plaintiff, making it defective under the law.

             110.   The Products defects, as described herein, made the Products more dangerous than

 they would have been had the Products been manufactured properly and as specified.

             111.   The Products defects, as described herein, existed at the time of manufacture;

 therefore, the defects were present in the Products when they left Defendants’ control.

             112.   The Products used by Plaintiff’s physician were not substantially changed,

 modified, or altered at any time or in any manner whatsoever prior to use. The Products implanted

 into Plaintiff were in the same or substantially similar condition as they were when they left the

 possession of the Defendants and in the condition directed by and expected by the Defendants.

             113.   The Products were at all times utilized and implanted in a manner foreseeable to

 the Defendants, as Defendants generated the Directions for Use, created the procedures for

 implanting the Products, and trained the implanting physicians.




 555750.12                                           23
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 24 of 53 - Page ID#: 24




             114.   At no time did Plaintiff, or her physicians, have reason to believe that the Products

 were in a condition not suitable for its proper and intended use.

             115.   Plaintiff was not able to discover, nor could she have discovered through the

 exercise of reasonable diligence, the manufacturing defect of the Products.

             116.   Defendants violated the common law in addition to the Kentucky Products Liability

 Act, Ky. Rev. Stat. Ann. 411.300 et seq and the Kentucky Consumer Protection Law, Ky. Rev.

 Stat. Ann. 367.170 et seq.

             117.   Defendants intentionally and recklessly manufactured the Products with wanton

 and willful disregard for the rights and health of the Plaintiffs and others, and with malice, placing

 their economic interest above the health and safety of the Plaintiff and others.

             118.   As a direct and proximate result of the Products’ aforementioned defects as

 described herein, Plaintiff has suffered serious and permanent mental and physical injuries and

 pain and suffering; has undergone medical treatment and/or corrective surgery and hospitalization,

 and likely will undergo further medical treatment and procedures; and has suffered financial

 and/or economic loss, including, but not limited to, obligations for medical services and

 expenses, and/or lost income, out of pocket expenses and other damages.

             119.   Defendants are strictly liable to Plaintiff for manufacturing and selling the defective

 Product.

                    COUNT IV: STRICT LIABILITY – FAILURE TO WARN

             120.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             121.   Defendants had a duty to give an adequate warning of known or reasonably

 foreseeable dangers, risks, and complications arising from the use of the Products. Defendants



 555750.12                                            24
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 25 of 53 - Page ID#: 25




 owed this duty to warn all persons whom Defendants should have reasonable foreseen my use or

 be affected by the Products, including, but not limited to, Plaintiff, Plaintiff’s healthcare providers,

 and the FDA.

             122.   Defendants had a duty when disseminating information to the public to disseminate

 truthful information and a parallel duty not to deceive the public, Plaintiff, Plaintiff’s healthcare

 providers, and the FDA.

             123.   The Products implanted in Plaintiff were not reasonably safe for their intended use

 and were defective as described herein as a matter of law due to their lack of adequate, appropriate

 and necessary warnings. Specifically, Defendants did not provide sufficient or adequate warnings

 regarding, among other subjects:

             a) The Products’ propensities to contract, retract, and/or shrink inside the body;

             b) The Products’ propensities for degradation, fragmentation, disintegration and/or creep
                as seen in scientific literature and reports from Defendants’ physician consultants;

             c) The Products’ inelasticity preventing proper mating with the pelvic floor and vaginal
                region;

             d) The rate and manner of mesh erosion or extrusion for the Products;

             e) The risk of chronic inflammation resulting from the Products;

             f) The risk of chronic infections resulting from the Products;

             g) The risk of chronic pain resulting from the Products;

             h) The risk of permanent vaginal or pelvic scarring as a result of the Products;

             i) The risk of recurrent, intractable pelvic pain and other pain resulting from the
                Products;

             j) The need for corrective or revision surgery to adjust or remove the Products;

             k) The risk and severity of foreign body response of the Products as compared to
                feasible available alternatives;




 555750.12                                           25
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 26 of 53 - Page ID#: 26




             l) The severity of complications that could arise as a result of implantation of the
                Products;
             m) Treatment of SUI with the Products are no more effective than feasible available
                alternatives;
             n) Treatment of SUI with the Products exposes patients to greater risk than feasible
                available alternatives;

             o) Treatment of SUI with the Product makes future surgical repair more difficult than
                feasible available alternatives;

             p) Use of the Products puts the patient at greater risk of requiring additional surgery
                than feasible available alternatives;

             q) Removal of the Products due to complications may involve multiple surgeries and
                may significantly impair the patient’s quality of life;

             r) Complete removal of the Product may not be possible and may not result in complete
                resolution of the complications, including pain;

             s) The nature, magnitude, and frequency of complications that could arise as a result
                of implantation of the Products; and

             t) the material of the Products was never intended to be used in a medical device
                permanently implanted in the body and the material was non-medical grade.

             124.   Defendants acted unreasonably in failing to undertake their duties to properly know

 the qualities of the Product and, in representations to Plaintiff and/or to Plaintiff’s health care

 providers, concealed and intentionally omitted the following material information:

             a) That the Products were not as safe as other products and procedures available to treat
                incontinence and/or prolapse;

             b) That the risk of adverse events with the Products were higher than with other
                products and procedures available to treat incontinence and/or prolapse;

             c) That the risk of adverse events with the Products were known by Defendants and
                were not adequately tested;

             d) That the limited clinical testing revealed the Products had a higher risk of adverse
                effects in addition to and above and beyond those associated with other products and
                procedures available to treat incontinence and/or prolapse;




 555750.12                                           26
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 27 of 53 - Page ID#: 27




             e) That Defendants failed to follow up on the adverse results from clinical studies and
                buried and/or misrepresented those findings;
             f) That Defendants were aware of dangers in their Products, including the pelvic mesh
                systems, in addition to and above and beyond those associated with other products
                and procedures available to treat incontinence and/or prolapse;

             g) That the Products were dangerous and caused adverse side effects, including, but not
                limited to, higher incidence of erosion and failure at a much more significant rate
                than other products and procedures available to treat incontinence and/or prolapse;

             h) That patients frequently would need revisionary surgery due to changes in the
                structure of the Products that would cause it to be become loose or shift position
                within the body;

             i) That patients needed to be monitored more regularly than usual while using the
                Products and, in the event the Products needed to be removed, that the procedure to
                remove the Products had a very high failure rate and/or needed to be performed
                repeatedly;

             j) That material the Defendants were using to produce the Products carried a specific
                safety warning to never be used as a permanent implant in the human body;

             k) That Defendants rushed the Products to market against the concerns of consultants and
                employees;

             l) That Defendants were aware of safety issues with design of the Products and the
                pain it caused to patients;

             m) That Defendants were aware the Product was not as safe or efficacious as other
                alternatives;

             n) The Defendants’ internal risk assessments concluded there was a lack of data to support
                the safety and efficacy of the Products; and

             o) That Defendants received complaints about the design of the Products, including from
                their own consultants, only to conceal them and not make any changes to the Products’
                design.

             125.   Defendants were aware of numerous risks with the Products as a result of several

 published, peer reviewed, scientific studies, including, but not limited to, the defects and

 unreasonable risks identified above.




 555750.12                                           27
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 28 of 53 - Page ID#: 28




             126.   Defendants were under a duty to disclose to Plaintiff and her physicians the

 defective nature of the Products, including, but not limited to, the heightened risks of erosion,

 failure, chronic pain, and permanent injury.

             127.   Defendants misrepresented to the medical and healthcare community, Plaintiff, the

 FDA, and the public at large that the Products had been tested and was found to be safe and

 effective for the purposes of treating SUI.

             128.   These representations were made by Defendants with the intent of inducing

 Plaintiff, the medical community, and the public to recommend, prescribe, dispense, and purchase

 the Products for use as a means of treatment for SUI, all of which evinced an indifference to the

 health, safety, and welfare of Plaintiff.

             129.   Defendants had sole access to material facts concerning the defective nature of the

 Products and their propensity to cause serious, dangerous, and chronic side effects and, hence,

 cause dangerous injuries and damage to women who used the Products, including Plaintiff.

             130.   At the time these representations were made by Defendants and at the time Plaintiff

 used the Products, she was unaware of the falsehood of these representations, and reasonably

 believed them to be true.

             131.   Defendants’ concealment and omissions of material facts concerning the safety of

 the Products were made to cause Plaintiff’s physicians and healthcare providers to purchase,

 prescribe, and/or dispense the Product; and/or to mislead Plaintiff into reliance and cause Plaintiff

 to use the Products.

             132.   The Defendants provided incomplete, insufficient, and misleading training and

 information to physicians in order to increase the number of physicians utilizing the Products and,




 555750.12                                          28
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 29 of 53 - Page ID#: 29




 thus, increase the sales of the Products, leading to the dissemination of inadequate and misleading

 information to patients, including Plaintiff.

             133.   Defendants intentionally made material misrepresentations to the medical

 community and public, including Plaintiff, regarding the safety of the Products, specifically that

 they did not have dangerous and/or serious adverse health safety concerns and that they were as

 safe as other means of treating SUI.

             134.   Defendants intentionally failed to inform the public, including Plaintiff, of the high

 failure rate, erosion, the difficulty of removing the Products, and the risk of permanent injury.

             135.   Instead, Defendants chose to over-promote the safety, efficacy, and benefits of the

 Products.

             136.   Defendants violated the common law in addition to the Kentucky Products Liability

 Act, Ky. Rev. Stat. Ann. 411.300 et seq and the Kentucky Consumer Protection Law, Ky. Rev.

 Stat. Ann. 367.170 et seq.

             137.   Had Plaintiff known the true facts about the dangers and serious health and/or safety

 risks of the Products, she would not have purchased, used, or relied on the Products.

             138.   As a direct and proximate result of the Products’ aforementioned defects as

 described herein, Plaintiff has experienced significant mental and physical pain and suffering, has

 sustained permanent injury, has undergone medical treatment and will likely undergo further

 medical treatment and procedures, and has suffered financial or economic loss, including, but not

 limited to, obligations for medical services and expenses, and/or lost income, and other damages.

             139.   Defendants are strictly liable to Plaintiff for their failure to provide adequate and

 sufficient warnings to Plaintiff and to foreseeable users of the defective Products.




 555750.12                                           29
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 30 of 53 - Page ID#: 30




                          COUNT V: BREACH OF EXPRESS WARRANTY

             140.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             141.   At all relevant times, Defendants developed, designed, manufactured, labeled,

 packaged, distributed, marketed, supplied, advertised, sold and otherwise engaged in all activities

 that are part and parcel of the sale and distribution of the Products with the intent that it would be

 implanted in patients, like Plaintiff. Defendants represented the quality and effectiveness to health

 care professionals, the FDA, Plaintiff and the public in such a way as to induce purchase or use of

 the Products, thereby making an express warranty that the Products would conform to

 representations.

             142.   Defendants made assurances as described herein to the general public, hospitals,

 and health care professionals that the Products were safe, effective and reasonably fit for use by

 individuals, like Plaintiff, for their intended purposes.

             143.   At all relevant times, Ethicon intended that its Products be used in the manner that

 Plaintiff used the Products and Ethicon expressly warranted that each Product was safe and fit for

 use by consumers, that it was of merchantable quality, that its side effects were minimal, and that

 it was adequately tested and fit for its intended use.

             144.   The Products were expected to reach and did, in fact, reach consumers, including

 Plaintiff’s physicians, without substantial change in the condition in which it was manufactured

 and sold by Defendants.

             145.   At all relevant times, Plaintiff and/or her implanting physicians used the Products

 for the purpose and manner intended by Defendants.

             146.   As a result of Defendants’ research and testing, or lack thereof, they distributed

 false information including, but not limited to, assuring Plaintiff, the public, and Plaintiff’s


 555750.12                                           30
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 31 of 53 - Page ID#: 31




 healthcare providers and physicians that the Products were safe for use as a means of providing

 relief from SUI and were as safe or safer than other products and/or procedures available and on

 the market. As a result of Defendants’ research and testing, or lack thereof, Defendants

 intentionally omitted, concealed and suppressed certain results of testing and research of the

 Products to healthcare professionals, Plaintiff, and the public at large.

             147.   The information that Defendants distributed to the public, the medical community,

 the FDA, and Plaintiff included, but was not limited to, reports, press releases, advertising

 campaigns, television commercials, print advertisements, billboards and other commercial media

 containing material representations, which were false and misleading and contained omissions and

 concealment of the truth about the dangers of the use of the Products.

             148.   Defendants’ intent and purpose in making these misrepresentations were to deceive

 the public, the medical community, and Plaintiff; to gain the confidence of the public, the medical

 community, and Plaintiff; to falsely assure the public, the medical community, and Plaintiff of the

 quality and fitness for use of the Products; and to induce Plaintiff, the public and the medical

 community to request, recommend, prescribe, dispense, purchase, and continue to use the

 Products.

             149.   Defendants utilized direct-to-consumer advertising to market, promote, and

 advertise the Products.

             150.   Plaintiff and/or her implanting physicians were at all times in privity with

 Defendants.

             151.   At the time the representations were made, Plaintiff and her healthcare providers

 did not know the truth about the dangers and serious health and/or safety risks inherent in the use

 of the Products.




 555750.12                                         31
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 32 of 53 - Page ID#: 32




             152.   At the time the representations were made, Plaintiff did not discover the true facts

 about the dangers and serious health and/or safety risks of the Products, nor did Plaintiff discover

 the false representations of Defendants about the Products, nor would Plaintiff with reasonable

 diligence have discovered the true facts or Defendants’ misrepresentations about the Products.

             153.   Defendants recklessly and/or intentionally falsely represented the dangerous and

 serious health and safety concerns inherent in the use of the Products to the public at large for the

 purpose of influencing the sales of product known to be dangerous and defective and/or not as safe

 as other alternatives.

             154.   Plaintiff and/or her healthcare provider chose the Products based upon Defendants’

 warranties and representations as described herein regarding the safety and fitness of the Products.

             155.   Plaintiff, individually, and/or by and through her physician, reasonably relied upon

 Defendants’ express warranties and guarantees that the Products were safe, merchantable, and

 reasonably fit for their intended purposes – and stated the Products was permanent, safe, approved

 by the FDA, had low complications, high success rates and utilized material that performed better

 than alternative options available to the Plaintiff.

             156.   Defendants breached these express warranties because the Products implanted in

 Plaintiff were unreasonably dangerous and defective as described herein and not as Defendants

 had represented.

             157.   Defendants’ breach of the express warranties resulted in the implantation of

 unreasonably dangerous and defective Products in the body of Plaintiff, placing Plaintiff’s health

 and safety in jeopardy.

             158.   As a direct and proximate result of Defendants’ breach of the aforementioned

 express warranties, Plaintiff has experienced significant mental and physical pain and suffering,




 555750.12                                           32
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 33 of 53 - Page ID#: 33




 has sustained permanent injury, has undergone medical treatment and will likely undergo further

 medical treatment and procedures, and has suffered financial or economic loss, including, but not

 limited to, obligations for medical services and expenses, and/or lost income, and other damages.

                         COUNT VI: BREACH OF IMPLIED WARRANTY

             159.   Plaintiff incorporates by reference all prior paragraphs of this Complaint as if fully

 set forth herein.

             160.   At all relevant times, Defendants manufactured, distributed, advertised, promoted,

 and sold the Products.

             161.   At all relevant times, Defendants intended that the Defendants’ Products be

 implanted for the purposes and in the manner that Plaintiff’s implanting physician in fact used.

             162.   The Products were expected to reach and did, in fact, reach consumers, including

 Plaintiff’s physicians, without substantial change in the condition in which it was manufactured

 and sold by Defendants.

             163.   Defendants were aware that consumers, including Plaintiff’s physicians, would

 implant the Products in the manner directed by the instructions for use, which is to say that Plaintiff

 was a foreseeable user of the Products.

             164.   When the Products were implanted in Plaintiff to treat her SUI, they were being

 used for the ordinary purposes for which it was intended.

             165.   Defendants impliedly warranted that the Products were merchantable and were safe

 and fit for the ordinary purposes for which it was intended, even though they were not adequately

 tested.

             166.   Plaintiff and/or her physicians were at all relevant times in privity with the

 Defendants.




 555750.12                                           33
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 34 of 53 - Page ID#: 34




             167.     Plaintiff, individually, and/or by and through her physicians, relied upon

 Defendants’ implied warranties of merchantability in consenting to have the Products implanted

 in her.

             168.     In reliance upon Defendants’ implied warranty, Plaintiff used the Product as

 prescribed and in the foreseeable manner normally intended, recommended, promoted, and

 marketed by Defendants.

             169.     Defendants breached their implied warranty to Plaintiff in that the Products were

 not of merchantable quality, safe and fit for intended use, or adequately tested, in violation of

 Common Law principles and the statutory provisions of the State of Kentucky.

             170.     Defendants breached various implied warranties with respect to the Products,

 including, but not limited to, the following:

                    a) Defendants represented through their labeling, advertising, marketing materials,
                       detail persons, seminar presentations, publications, notice letters, and regulatory
                       submissions that the Defendants’ Products were safe and fraudulently withheld
                       and concealed information about the substantial risks of serious injury and/or
                       death associated with using the Products;

                    b) Defendants represented that the Defendants’ Products were safe, and/or safer than
                       other alternative devices or procedures and that complications were rare, and
                       fraudulently concealed information, which demonstrated that the Products were
                       not as safe or safer than alternatives available on the market: and

                    c) Defendants represented that the Defendants’ Products were more efficacious than
                       alternative pelvic mesh products and procedures and fraudulently concealed
                       information regarding the true efficacy of the Products.

             171.     Defendants’ breach of their implied warranties resulted in the implantation of an

 unreasonably dangerous and defective Products in the body of Plaintiff, placing Plaintiff’s health

 and safety in jeopardy.

             172.     Defendants violated the common law in addition to Ky. Rev. Stat. 355.2-318 et seq.




 555750.12                                              34
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 35 of 53 - Page ID#: 35




             173.   As a direct and proximate result of Defendants’ breach of the aforementioned

 implied warranties, Plaintiff has experienced significant mental and physical pain and suffering,

 has sustained permanent injury, has undergone medical treatment and will likely undergo further

 medical treatment and procedures, and has suffered financial or economic loss, including, but not

 limited to, obligations for medical services and expenses, and/or lost income, and other damages.

                                COUNT VII: COMMON LAW FRAUD


             174.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth here.

             175.   Defendants falsely and fraudulently represented and continue to represent to the

 medical and healthcare community, Plaintiff, and the public that the Products had been tested and

 found to be safe and effective. The representations made by Defendants were, in fact, false.

             176.   Defendants knew or had reason to know that their representations were false, and

 Defendants willfully, wantonly, and recklessly disregarded the inaccuracies in their

 representations and the dangers and health risks to users of the Products implanted in Plaintiff.

             177.   In representations to Plaintiff and/or her healthcare providers, Defendant

 fraudulently concealed and intentionally or recklessly omitted the following material information:

             a)     That the Products were not as safe as other products and procedures available to
                    treat incontinence;

             b)     That the risk of adverse events with the Products were higher than with other
                    products and procedures available to treat incontinence;

             c)     That the risk of adverse events with the Products were known by Defendants and
                    were not adequately tested;

             d)     That the limited clinical testing revealed the Products had a higher risk of adverse
                    effects in addition to and above and beyond those associated with other products
                    and procedures available to treat incontinence;




 555750.12                                            35
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 36 of 53 - Page ID#: 36




             e)     That Defendants failed to follow up on the adverse results from clinical studies
                    and buried and/or misrepresented those findings;

             f)     That Defendants were aware of dangers in their Products, including the pelvic
                    mesh systems, in addition to and above and beyond those associated with other
                    products and procedures available to treat SUI;

             g)     That the Products were dangerous and caused adverse side effects, including, but
                    not limited to, higher incidence of erosion and failure at a much more significant
                    rate than other products and procedures available to treat incontinence;

             h)     That patients frequently would need revisionary surgery due to changes in the
                    structure of the Products that would cause them to be become loose or shift
                    position within the body;

             i)     That patients needed to be monitored more regularly than usual while using the
                    Products and, in the event the Products needed to be removed, that the procedure
                    to remove the Products had a very high failure rate and/or needed to be
                    performed repeatedly;

             j)     That material the Defendants were using in the Products carried a specific safety
                    warning to never be used as a permanent implant in the human body;

             k)     That Defendants rushed the Products to market against the concerns of consultants
                    and employees;

             l)     That Defendants were aware of safety issues with design of the Products and the
                    pain it caused to patients and lack of effectiveness; and

             m)     That Defendants were aware the Products were not as safe or efficacious as other
                    alternatives.

             178.   Defendants were under a duty to disclose to Plaintiff, her physicians, the public,

 and the FDA the defective nature of the Products, including, but not limited to, the heightened

 risks of erosion, failure, chronic pain, foreign body response, and permanent injury.

             179.   Defendants misrepresented to the medical and healthcare community, Plaintiff,

 the FDA, and the public at large that the Products had been tested and were found to be safe and

 effective for the purposes of treating SUI.




 555750.12                                           36
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 37 of 53 - Page ID#: 37




             180.   Defendants’ concealment and omissions of material fact concerning the safety of

 the Products were made purposefully, willfully, wantonly, and/or recklessly to mislead, and to

 cause Plaintiff’s physicians and healthcare providers to recommend, prescribe, dispense, and

 purchase the P roducts; and/or to mislead Plaintiff into reliance and cause Plaintiff to use the

 Products.

             181.   Defendants had sole access to material facts concerning the defective nature of the

 Products and their propensity to cause serious and dangerous side effects and, hence, cause

 dangerous injuries and damage to women who used the Products.

             182.   At the time these representations were made by Defendants and at the time Plaintiff

 used the Products, she was unaware of the falsehood of these representations and reasonably

 believed them to be true.

             183.   Defendants knew or had reason to know that the Products could and would cause

 severe and grievous injury to the users of the Products and that they were inherently dangerous in

 a manner that exceeded any purported, inaccurate, or otherwise downplayed warnings.

             184.   The Defendants provided incomplete, insufficient, and misleading training and

 information to physicians in order to increase the number of physicians utilizing the Products and,

 thus, increase the sales of the Products, leading to the dissemination of inadequate and misleading

 information to patients, including Plaintiff.

             185.   Defendants intentionally made material misrepresentations to the medical

 community, the FDA, and the public, including Plaintiff, regarding the safety of the Products,

 specifically that it did not have dangerous and/or serious adverse health safety concerns and that

 it was as safe as other means of treating SUI.




 555750.12                                          37
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 38 of 53 - Page ID#: 38




             186.   Defendants intentionally failed to inform the medical community, the FDA, and the

 public, including Plaintiff, of the high failure rate, erosion, the difficulty of removing the Products,

 and the risk of permanent injury.

             187.   Instead, Defendants chose to over-promote the safety, efficacy, and benefits of the

 Products.

             188.   Defendants’ intent and purpose in making these representations was to deceive and

 defraud the public, the medical community, and Plaintiffs; to gain the confidence of the public, the

 medical community, and Plaintiff; to falsely assure them of the quality and fitness for use of the

 Products; and induce Plaintiff, the public, and the medical community to request, recommend,

 prescribe, dispense, purchase, and continue to use the Products.

             189.   At the time that the representations were made, Plaintiff and her healthcare

 providers did not know the truth about the dangers and serious health and safety risks inherent in

 the use of the Products.

             190.   At the time that the representations were made, Plaintiff could not have discovered

 the true facts about the dangers and serious health and safety risks, nor could have the Plaintiff

 discovered the false representations of Defendants nor would Plaintiff, with reasonable diligence,

 have discovered the true facts or Defendants’ misrepresentations.

             191.   Plaintiff reasonably relied on revealed facts that foreseeably and purposefully

 suppressed and concealed facts that were critical to understanding the real dangers inherent in the

 use of the Products.

             192.   Had Plaintiff known the true facts about the dangers and serious health and/or

 safety risks of the Product, she would not have purchased, used, or relied on the Products.




 555750.12                                          38
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 39 of 53 - Page ID#: 39




             193.   Having knowledge based upon Defendants’ research and testing, or lack thereof,

 Defendants blatantly and intentionally distributed false information, including, but not limited to,

 assuring Plaintiff, the public, and Plaintiff’s healthcare providers and physicians, that the

 Defendants’ Products were safe for use as a means of providing relief from SUI and were as safe

 or safer than other products or procedures available and on the market. As a result, Defendants

 intentionally omitted, concealed and suppressed certain results of testing and research to healthcare

 professionals, Plaintiff, and the public at large.

             194.   Defendants utilized direct-to-consumer advertising to market, promote, and

 advertise the Defendants’ Products.

             195.   Defendants’ wrongful conduct constitutes fraud and deceit and was committed and

 perpetrated willfully, wantonly, and/or purposefully on Plaintiff.

             196.   As a direct and proximate result of Defendants’ fraudulent behavior described

 herein, Plaintiff has experienced significant mental and physical pain and suffering, has sustained

 permanent injury, has undergone medical treatment and will likely undergo further medical

 treatment and procedures, and has suffered financial or economic loss, including, but not limited

 to, obligations for medical services and expenses, and/or lost income, and other damages.

                              COUNT VIII: CONSTRUCTIVE FRAUD

             197.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth here.

             198.   Defendants are in a unique position of knowledge concerning the quality, safety,

 and efficacy of the Products, which knowledge is not possessed by Plaintiff or her physicians, and

 Defendants, thereby, hold a position of superiority over Plaintiff and her physician.




 555750.12                                            39
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 40 of 53 - Page ID#: 40




             199.   Despite their unique and superior knowledge regarding the defective nature of the

 Products, Defendants continue to suppress, conceal, omit, and/or misrepresent information to

 Plaintiff, the medical community, and the FDA concerning the severity of risks and dangers

 inherent in the intended use of the Product, as compared to other products and forms of treatment.

             200.   For example, scientists in a study published in Obstetrics & Gynecology, August

 2010, found that the complication rate was so high that the clinical trial was halted early.

             201.   Defendants have concealed and suppressed material information, including limited

 clinical testing, that would reveal that the Products had a higher risk of adverse effects in addition

 to and exceeding those associated with alternative procedures and available devices. Instead,

 Defendants have misrepresented the safety and efficacy of the Products.

             202.   Upon information and belief, Defendants’ misrepresentations are designed to

 induce physicians and Plaintiff to prescribe, dispense, recommend, and/or purchase the Products,

 as the case may be.          Plaintiff and the medical community have relied on Defendants’

 representations.

             203.   Defendants took unconscionable advantage of their dominant position of

 knowledge with regard to Plaintiff and her medical providers and engaged in constructive fraud in

 their relationship with Plaintiff and her medical providers.         Plaintiff reasonably relied on

 Defendants’ representations.

             204.   As a proximate result of the Defendants’ conduct, Plaintiff has been injured and

 sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

 loss of care and comfort, and economic damages.




 555750.12                                         40
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 41 of 53 - Page ID#: 41




                            COUNT IX: FRAUDULENT CONCEALMENT

             205.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth here.

             206.   Plaintiff asserts all applicable state statutory and common law rights and theories

 related to the tolling or extension of any applicable statute of limitations, including equitable

 tolling, class action tolling, delayed discovery, discovery rule, and fraudulent concealment.

             207.   Plaintiff pleads that the discovery rule should be applied to toll the running of the

 statute of limitations until Plaintiff knew, or through the exercise of reasonable care and diligence

 should have known, of facts indicating that Plaintiff ‘s injuries may have been caused by

 Defendants’ conduct and/or defective Products.

             208.   Despite diligent and reasonable investigation by Plaintiff into the cause of her

 injuries, including consultations with her medical providers, the nature of Plaintiff’s injuries and

 damages and their relationship to the Products were not discovered, and through reasonable care

 and due diligence could not have been discovered, until a date within the applicable statute of

 limitations for filing Plaintiff’s claims. Therefore, under appropriate application of the discovery

 rule, Plaintiff’s action was filed well within the applicable statutory limitations period.

             209.   The running of the statute of limitations in this action is tolled due to equitable

 tolling. Defendants are estopped from asserting a statute of limitations defense due to Defendants’

 fraudulent concealment through affirmative misrepresentations and omissions from Plaintiff and

 Plaintiff’s physicians of the true risks associated with the Products. As a result of Defendants’

 fraudulent concealment, Plaintiff and Plaintiff’s physicians were unaware, and could not have

 known or have learned through reasonable diligence, that Plaintiff had been exposed to the risks




 555750.12                                           41
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 42 of 53 - Page ID#: 42




 alleged herein and that those risks were the direct and proximate result of the wrongful acts and

 omissions of the Defendants.

                                   COUNT X: GROSS NEGLIGENCE

             210.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             211.   In committing the acts and / or omissions set forth herein that directly and

 proximately caused Plaintiff’s injuries, as set forth herein, Defendants breached their duty to

 Plaintiff and demonstrated a conscious, reckless, willful, and wanton indifference to and disregard

 of the consequences of their actions and / or omissions.

             212.   Defendants have known and continue to know that some of the predicate product

 for their pelvic mesh products had high failure and complication rates, resulting in the recall of

 some of these predicate devices; that there were and are differences between the Defendants’

 Product and some or all of the predicate products, rendering them unsuitable for designation as

 predicate products; that significant differences exist and existed between the Product and its

 predecessor and predicate products, such that the disclosures to the FDA were and are incomplete

 and misleading; and that the Product was and is causing numerous patients severe injuries and

 complications. The Defendants suppressed this information and failed to accurately and

 completely disseminate or share this and other critical information with the FDA, health care

 providers, or the patients. As a result, the Defendants actively and intentionally misled and

 continue to mislead the public, including the medical community, health care providers, and

 patients, into believing that the Products and the procedures for its implantation were and are safe

 and effective. This led to the prescription for and implantation of the Products into Plaintiff.




 555750.12                                         42
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 43 of 53 - Page ID#: 43




             213.   The injuries, conditions, and complications suffered by women who have been

 implanted with Defendants’ Products include, without limitation: mesh erosion, mesh contraction,

 infection, fistula, inflammation, scar tissue, organ perforation, dyspareunia, blood loss, foreign

 body response, neuropathic and other acute and chronic nerve damage and pain, pudendal nerve

 damage, pelvic floor damage, chronic pelvic pain, urinary and fecal incontinence, the recurrent

 prolapse of organs and/or stress urinary incontinence, and, in many cases, the women have been

 forced to undergo intensive medical treatment including, but not limited to, operations to locate

 and remove mesh, operations to attempt to repair pelvic organs, tissue, and nerve damage, the use

 of pain control and other medications, injections into various areas of the pelvis, spine, and the

 vagina, and operations to remove portions of the female genitalia.

             214.   Again, Defendants had sole access to material facts concerning the defective nature

 of the Products and their propensity to cause serious and dangerous side effects and, hence, cause

 dangerous injuries and damage to women who used the Products.

             215.   Defendants were grossly negligent by showing a complete indifference for the

 safety and health of Plaintiff and others similarly situated in negligently designing, packaging,

 labeling, marketing, advertising, promoting, distributing, and selling the defective and

 unreasonably dangerous Products and in negligently failing to warn Plaintiff of the significant risks

 and complications associated with the Products, as set forth above.

             216.   In light of the knowledge Defendants had concerning the risks and complications

 associated with its Products, as set forth above, Defendants continued to show an utter disregard

 and complete indifference for the safety of Plaintiff by failing to provide adequate warnings

 concerning the risks and complications associated with its Products, making material




 555750.12                                          43
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 44 of 53 - Page ID#: 44




 misrepresentations and placing profits from sales of its device over the safety of patients receiving

 its Product.

             217.   The wrongs done by Defendants were aggravated by the kind of malice, fraud, and

 grossly negligent disregard for the rights of others, the public, and Plaintiff for which the law will

 not allow, and for which Plaintiff seeks exemplary damages, in that Defendants’ conduct,

 including the failure to comply with applicable industry standards, was specifically intended to

 cause substantial injury to Plaintiff; or when viewed objectively from Defendants’ standpoint at

 the time of the conduct, involved an extreme degree of risk, considering the probability and

 magnitude of the potential harm to others, including Plaintiff, and Defendants actually were

 subjectively aware of the risk involved, but nevertheless proceeded with conscious indifference to

 the rights, safety, or welfare of others, including Plaintiff; or included a material representation

 that was false, with Defendants knowing that it was false or with reckless disregard as to its truth

 and as a positive assertion, with the intent that the representation is acted on by Plaintiff.

             218.   As a direct and proximate result of Defendants’ gross negligence, Plaintiff has

 experienced significant mental and physical pain and suffering, has sustained permanent injury,

 has undergone medical treatment and will likely undergo further medical treatment and

 procedures, and has suffered financial or economic loss, including, but not limited to, obligations

 for medical services and expenses, and/or lost income, and other damages.

                        COUNT XI: NEGLIGENT MISREPRESENTATION

             219.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             220.   Defendants had a duty to accurately and truthfully represent to the medical and

 healthcare community, Plaintiff and the public that the Pelvic Mesh Products had not been




 555750.12                                         44
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 45 of 53 - Page ID#: 45




 adequately tested and found to be safe and effective for the treatment of urinary incontinence and

 pelvic organ prolapse. The representations made by Ethicon, in fact, were false.

             221.     Defendants failed to exercise ordinary care in the representations concerning the

 Products while Defendants were involved in their development, design, manufacture, label,

 package, distribution, marketing, testing, supply, advertisement, selling, quality assurance, quality

 control and otherwise engaged in all activities that are part and parcel of the sale and distribution

 in interstate commerce, because Defendants negligently misrepresented the Products’ high risk of

 unreasonable, dangerous, adverse side effects.

             222.     Defendants breached their duty in representing that their Products had no serious

 side effects different from older generations of similar products and/or procedures to Plaintiff,

 Plaintiff’s physicians and the medical and healthcare community.

             223.     As a foreseeable, direct and proximate result of the negligent misrepresentation of

 Defendants as set forth herein, Defendants knew, and had reason to know, that the Products had

 been insufficiently tested, or had not been tested at all, and that they lacked adequate and accurate

 warnings, and that it created a high risk, and/or higher than acceptable risk, and/or higher than

 reported       and     represented   risk,   of   adverse   side   effects,   including   mesh   erosion,

 extrusion/protrusion, chronic pain, mesh contraction, infection, abscesses, fistula, inflammation,

 scar tissue, organ perforation, dyspareunia, bleeding, neuropathic, and other acute and chronic

 nerve damage and pain, pudendal nerve damage, vaginal scarring, vaginal shrinkage, pelvic floor

 damage, pelvic pain, urinary and fecal problems, prolapse of organs, and in many cases forcing

 the need for intensive medical treatment, including but not limited to operations to locate and

 remove mesh, operations to attempt to repair pelvic organs, tissue and nerve damage, the use of

 pain control and other medications, injections into various areas of the pelvis, spine, and the




 555750.12                                             45
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 46 of 53 - Page ID#: 46




 vagina, and operations to remove portions of the female genitalia, injuries to the woman’s intimate

 partner and other severe and personal injuries, which are permanent and lasting in nature.

             224.   Defendants took unconscionable advantage of their dominant position of

 knowledge with regard to Plaintiff and the medical providers and engaged in negligent

 misrepresentations in their relationship with Plaintiff and the medical providers. Plaintiff

 reasonably and justifiably relied on Defendants’ misrepresentations.

             225.   As a direct and proximate result of Defendants’ wrongful conduct, including

 Defendants’ negligent misrepresentation, Plaintiff has sustained and will continue to sustain severe

 and debilitating injuries, serious bodily injury, mental and physical pain and suffering and has

 incurred economic loss.

                                  COUNT XII: CONSUMER FRAUD

             226.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             227.   Defendants violated the common law in addition to the Kentucky Consumer

 Protection Law, Ky. Rev. Stat. Ann. 367.170 et seq.

             228.   Under the Kentucky Consumer Protection Law, Ky. Rev. Stat. Ann. 367.170 et

 seq., Defendants are the suppliers, manufacturers, advertisers, and sellers, who are subject to

 liability under such legislation for unfair, deceptive, fraudulent and unconscionable consumer sales

 practices.

             229.   Plaintiff purchased and used the Defendants’ Products primarily for personal use

 and thereby suffered ascertainable losses as a result of Defendants’ actions in violation of Ky. Rev.

 Stat. Ann. 367.170 et seq.




 555750.12                                         46
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 47 of 53 - Page ID#: 47




             230.   Defendants have a statutory duty to refrain from unfair or deceptive acts or trade

 practices in the design, labeling, development, manufacture, promotion, and sale of the

 Defendants’ Products.

             231.   Had Defendants not engaged in the deceptive conduct described herein, Plaintiff

 would not have purchased and/or paid for the Defendants’ Products, and would not have incurred

 related medical costs and injury.

             232.   Defendants engaged in wrongful conduct while at the same time obtaining, under

 false pretenses, moneys from Plaintiff for the Products that would not have been paid had

 Defendants not engaged in unfair and deceptive conduct.

             233.   Unfair methods of competition or deceptive acts or practices that were proscribed

 by law, including the following:

                a. Representing that goods or services have characteristics, ingredients, uses benefits
                   or quantities that they do not have;
                b. Advertising goods or services with the intent not to sell them as advertised; and,
                c. Engaging in fraudulent or deceptive conduct that creates a likelihood of confusion
                   or misunderstanding.

             234.   Plaintiff was injured by the cumulative and indivisible nature of Defendants’

 conduct. The cumulative effect of Defendants’ conduct directed at patients, physicians and

 consumers was to create demand for and sell the Defendants’ Products. Each aspect of Defendants’

 conduct combined to artificially create sales of the Defendants’ Products.

             235.   Had Defendants not engaged in the deceptive conduct described above, Plaintiff

 would not have purchased and/or paid for the Products, and would not have incurred related

 medical costs.

             236.   Defendants’ deceptive, unconscionable, or fraudulent representations and material

 omissions to patients, physicians and consumers, including Plaintiff, constituted unfair and




 555750.12                                          47
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 48 of 53 - Page ID#: 48




 deceptive acts and trade practices in violation of the state consumer protection statutes listed

 below.

             237.   Defendants’ actions, as complained of herein, constitute unfair competition or

 unfair, unconscionable, deceptive or fraudulent acts, or trade practices in violation of state

 consumer protection statutes, as listed below.

             238.   Defendants have engaged in unfair competition or unfair or deceptive acts or trade

 practices or have made false representations in violation of the statutory provisions of the

 Kentucky Consumer Protection Law, Ky. Rev. Stat. Ann. 367.170 et seq.

             239.   Defendants violated Ky. Rev. Stat. Ann. 367.170 et seq., by knowingly and falsely

 representing that the Defendants’ Products were fit to be used for the purpose for which they were

 intended, when in fact they were defective and dangerous, and by other acts alleged herein. These

 representations were made in marketing and promotional materials.

             240.   The actions and omissions of Defendants alleged herein are uncured or incurable

 deceptive acts under Ky. Rev. Stat. Ann. 367.170 et seq.

             241.   Defendants had actual knowledge of the defective and dangerous condition of the

 Defendants’ Products and failed to take any action to cure such defective and dangerous

 conditions.

             242.   Plaintiff and her physicians relied upon Defendants’ misrepresentations and

 omissions in determining which product and/or procedure to undergo and/or perform (if any).

             243.   Defendants’ deceptive, unconscionable or fraudulent representations and material

 omissions to patients, physicians and consumers, constituted unfair and deceptive acts and

 practices.




 555750.12                                          48
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 49 of 53 - Page ID#: 49




             244.   By reason of the unlawful acts engaged in by Defendants, and as a direct and

 proximate result thereof, Plaintiff has suffered ascertainable losses and damages.

             245.   As a direct and proximate result of Defendants’ violation of the Kentucky

 Consumer Protection Law, Ky. Rev. Stat. Ann. 367.170 et seq. Plaintiff has sustained economic

 losses, injuries and other damages and are entitled to statutory and compensatory damages in an

 amount to be proven at trial.

              COUNT XIII: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

             246.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             247.   Defendants carelessly and negligently manufactured, designed, developed, tested,

 labeled, marketed and sold the Defendants’ Products to Plaintiff and her physicians, carelessly and

 negligently concealing the harmful effects of the Defendants’ Products from Plaintiff, and

 carelessly and negligently misrepresented the quality, safety and efficacy of the products.

             248.   Plaintiff was directly impacted by Defendants’ carelessness and negligence, in that

 Plaintiff has sustained and will continue to sustain severe physical injuries, economic losses, and

 other damages as a direct result of the decision to purchase the Products sold and distributed by

 Defendants and the implantation in her. The impact of the physical injuries and economic loss has

 further caused, and continues to cause, Plaintiff emotional distress.

             249.   As a direct and proximate result of the Defendants’ conduct, Plaintiff has been

 injured, and sustained severe and permanent pain, suffering, disability, impairment, loss of

 enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.




 555750.12                                          49
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 50 of 53 - Page ID#: 50




                                COUNT XIV: UNJUST ENRICHMENT

             250.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             251.   Defendants are and at all times relevant were the manufacturers, sellers, and/or

 suppliers of the Products.

             252.   Plaintiff paid for the Defendants’ Products for the purpose of treatment of stress

 urinary incontinence.

             253.   Defendants have accepted payment from Plaintiff and others on Plaintiff’s behalf

 for the purchase of the Defendants’ Products.

             254.   Plaintiff has not received the safe and effective medical devices for which she paid.

 Defendants have voluntarily accepted and retained these profits and benefits, derived from

 Plaintiff, with full knowledge and awareness that, as a result of Defendants’ fraud and other

 conscious and intentional wrongdoing, Plaintiff was not receiving a product of the quality, nature

 or fitness that had been represented by Defendants or that Plaintiff, as a reasonable consumer,

 expected.

             255.   It would be inequitable for Defendants to keep this money since Plaintiff did not in

 fact receive a safe and effective medical device as represented by Defendants.

             256.   By virtue of the conscious wrongdoing alleged above, Defendants have been

 unjustly enriched at the expense of Plaintiff, who is entitled to in equity, and hereby seeks, the

 disgorgement and restitution of Defendants’ wrongful profits, revenues and benefits, to the extent

 and in the amount deemed appropriate by the Court; and such other relief as the Court deems just

 and proper to remedy the Defendants’ unjust enrichment.




 555750.12                                           50
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 51 of 53 - Page ID#: 51




             257.   As a direct and proximate result of Defendants’ conduct Plaintiff has sustained

 economic losses, injuries and other damages and are entitled to statutory and compensatory

 damages in an amount to be proven at trial.

                                 COUNT XV: PUNITIVE DAMAGES

             258.   All paragraphs of this Complaint are hereby incorporated by reference as if fully

 set forth herein.

             259.   Defendants sold the Products to the healthcare providers of Plaintiff in the State of

 Kentucky and throughout the United States without doing adequate testing to ensure that the

 Products were reasonably safe for implantation in the female pelvic area.

             260.   Defendants sold the Products to Plaintiff’s health care providers and other health

 care providers in the State of Kentucky and throughout the United States in spite of their

 knowledge that the Products can shrink, disintegrate and/or degrade inside the body, and cause the

 other problems heretofore set forth in this Complaint, thereby causing severe and debilitating

 injuries suffered by Plaintiff and numerous other women.

             261.   Defendants ignored reports from patients and health care providers throughout the

 United States and elsewhere of the Products’ failures to perform as intended, which lead to the

 severe and debilitating injuries suffered by Plaintiff and numerous other women. Rather than doing

 adequate testing to determine the cause of these injuries or to rule out the Products’ designs or the

 processes by which the Products are manufactured as the cause of these injuries, Defendant chose

 instead to continue to market and sell the Products as safe and effective.

             262.   Defendants withheld material information from the medical community and the

 public in general, including Plaintiff, regarding the safety and efficacy of the Products.




 555750.12                                           51
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 52 of 53 - Page ID#: 52




             263.   Defendants knew and recklessly disregarded the fact that the Products caused

 debilitating and potentially life-altering complications with greater frequency than feasible

 alternative methods and/or products used to treat SUI.

             264.   Defendants misstated and misrepresented data and continue to misrepresent data so

 as to minimize the perceived risk of injuries caused by the Products.

             265.   Notwithstanding the foregoing, Defendants continue to aggressively market the

 Product to consumers, without disclosing the true risks associated with the Products.

             266.   Defendants knew of the Products’ defective and unreasonably dangerous nature,

 but continued to mislead physicians and patients and to manufacture, market, distribute, and sell

 the Products so as to maximize sales and profits at the expense of the health and safety of the

 public, including the Plaintiff.

             267.   Defendants continue to conceal and/or fail to disclose to the public, including the

 Plaintiff, the serious complications associated with the use of the Products to ensure continued and

 increased sales of the Products.

             268.   Defendants’ conduct as described herein shows willful misconduct, malice, fraud,

 wantonness, oppression, or that entire want of care that raises the presumption of conscious

 indifference to consequences, thereby justifying an award of punitive damages.

                                        PRAYER FOR RELIEF

             WHEREFORE, for the reasons stated above, Plaintiff respectfully requests that the Court

 enter judgment in her favor against Defendants for actual, compensatory, and punitive damages,

 plus attorneys’ fees and expenses, costs, interest, and such other and further relief as the Court may

 deem just and proper.




 555750.12                                          52
Case: 6:20-cv-00259-REW-HAI Doc #: 1 Filed: 12/30/20 Page: 53 of 53 - Page ID#: 53




                                              JURY DEMAND

             Plaintiff hereby demands a jury trial on all claims so triable in this action.



 Dated: December 30, 2020                           Respectfully submitted,

                                                    HERREN LAW, PLLC
                                                    148 N. Broadway
                                                    Lexington, KY 40507
                                                    (859) 254-0024
                                                    e-mail: tom.herren@herrenadams.com

                                                    /s/ Thomas K. Herren
                                                    THOMAS K. HERREN (Bar ID #31500)
                                                    Counsel for Plaintiff




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 555750.12                                             53
